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                        UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                 §             CASE NO. 14-32867
      Garrison Municipal Partners, LP, §
            Debtor                     §             (Chapter 7)

DON GREEN AND KAY GREEN RESPONSE TO TRUSTEE’S OMNIBUS OBJECTION
   TO PROOF OF CLAIM FILED BY PARTNERS OF GARRISON MUNICIPAL
                         PARTNERS, L.P.
                          [Docket No. 252]

TO THE HONORABLE JUDGE KAREN K. BROWN, UNITED STATES BANKRUPTCY
JUDGE:
       COMES NOW Don Green and Kay Green (referred herein as “Green” or “Claimants”) and
file this response to Trustee’s Omnibus Objection to Proof of Claim filed by Partners of Garrison

Municipal Partners, L.P. (“Garrison”) (“Objection”) and, in support thereof, would respectfully show

the Court the following:

1.     Claimants admit to the allegations contained in paragraph 1.

2.     Claimants admit to the allegations contained in paragraph 2.

3.     Claimants admit to the allegations contained in paragraph 3.

4.     Claimants admit to the allegations contained in paragraph 4.

5.     Claimants have insufficient information to admit or deny such allegations and therefore deny

       the allegations paragraph 5.

6.     Claimants have insufficient information to admit or deny such allegations and therefore deny

       the allegations paragraph 6.

7.     Claimants have insufficient information to admit or deny such allegations and therefore deny

       the allegations paragraph 7.

8.     Claimants admit to the allegations contained in paragraph 8.

9.     Claimants have insufficient information to admit or deny the allegations contained in

       paragraph 9 of the Objection and therefore deny the allegations in paragraph 9.

10.    Claimants admit that they have filed a claim as a general unsecured creditor. Claimants have

       insufficient information to admit or deny the remaining allegations contained in paragraph

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       10 of the Objection and therefore deny the remaining allegations in paragraph 10.

11.    Claimants deny the allegations in paragraph 11.

12.    Claimants deny the allegations in paragraph 12.

13.    Claimants deny the allegations in paragraph 13.

14.    Claimants have insufficient information to admit or deny the allegations contained in

       paragraph 14 of the Objection and therefore deny the allegations in paragraph 14.

15.    Claimants have insufficient information to admit or deny the allegations contained in

       paragraph 15 of the Objection and therefore deny the allegations in paragraph 15.

16.    Claimants deny the allegations in paragraph 16 as to Claim number 2.
17.    Claimants have insufficient information to admit or deny the allegations contained in

       paragraph 17 of the Objection and therefore deny the allegations in paragraph 17.

18.    X Claimants have insufficient information to admit or deny the allegations contained in

       paragraph 18 of the Objection and therefore deny the allegations in paragraph 18.

19.    Claimants have insufficient information to admit or deny the allegations contained in

       paragraph 19 of the Objection and therefore deny the allegations in paragraph 19.

20.    Claimants have insufficient information to admit or deny the allegations contained in

       paragraph 20 of the Objection and therefore deny the allegations in paragraph 20.

21.    Claimants object to the relief requested by Garrison in paragraph 21 as to claim number 2.

22.     Claimants deny the allegations contained in last paragraph of the Objection.

       WHEREFORE, based upon the foregoing, Claimants request the Court deny the Trustee’s

Omnibus Objection to Proof of Claim for Claim Number 2 filed by Claimants, and for such other

relief as to which Claimants are entitled.

       DATED: September 7, 2017




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                             Respectfully submitted,


                             /s/ Reese W. Baker
                             ______________________
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                             Fax: 713-869-9100
                             Attorney for Don and Kay Green




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                                CERTIFICATE OF SERVICE
       I certify that a true and correct copy of Don Green and Kay Green to Response to Trustee’s
Omnibus Objection to Proof of Claim filed by Partners of Garrison Municipal Partners, L.P. was
served on September 7, 2017, to the parties listed below as by electronic delivery of the clerk of
Bankruptcy Court:


US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV


Christopher Adams on behalf of Debtor Garrison Municipal Partners, LP
cadams@oakllp.com , teaston@okinadams.com

Charles Rubio on behalf of Rodney D. Tow, Chapter 7 Trustee
crubio@diamondmccarthy.com

Rodney D Tow, Chapter 7 Trustee
rtow@rtowtrustee.com




                                             /s/ Reese W. Baker
                                             Reese W. Baker

                VERIFICATION OF TRANSMITTAL TO U.S. TRUSTEE

       The undersigned, an attorney, under penalties of perjury, verifies that a copy of the
Application to Employ Attorney was delivered to the United States Trustee, 515 Rusk, Suite
3516, Houston, Texas 77002, on September 7, 2017, by electronic delivery by the clerk of the
Bankruptcy Court.

                                                    /s/ Reese W. Baker
                                                    Reese W. Baker




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